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                                   UNITED STATES DISTRICT COURT
                                   FOR THE        DISTRICT OF COLUMBIA
                                                                                                                   LE
    UNITED STATES            OF   AMERICA,            :                                                       IJ
                   v.                                         Criminal     No.          02-3             R

                                                                                                        UIS
                                                      :            (ESH)                                                  C




    SALVATORE MANCUSO-GOMEZ,                          :        (UNDER SEAL)
             Defendant.                               :




                                  STATEMENT OF FACTS IN SUPPORT OF
                                     DEFENDANT'S PLEA OF GUILTY

             If this     case      had proceeded to           trial,     the government would
    have been able to prove, beyond a reasonable doubt, the                                         following
     statement of facts, which the parties                        now    rely on in support of
    defendant's plea of guilty:
       Autodefensas Unidas de Colombia and Defendants'                                       Participation
             1.   In approximately 1997,                  the Autodefensas Unidas de

     Colombia ("AUC")             began    as   a   right-wing paramilitary group
     operating in Colombia.                 The     stated objective of the AUC was to
     defeat the Fuerzas Armadas Revolucionarias                           de    Colombia ("FARC")

     and    Ejército de Liberación Nacional ("ELN") left-wing rebel
     paramilitary groups that controlled                       large portions of Colombia.
     The    AUC   primarily financed its military operations against the
     FARC    and ELN and          enriched its leaders            by    producing, selling,                        and

     distributing cocaine.                The   AUC was      structured        as       a    military
     organization with approximately 30,000 armed soldiers organized
     into blocks        or    regions with commanders for each area.                             Ultimately
     the      ght-wing paramilitary group evolved into                              a       narco-terrorist
              zation to further             its     political objectives.
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           2.        On            September 4, 2002 the commanders of the "former"                                                                      AUC


    met for        several days and the AUC was reformed                                                                   Co-defendant

    Carlos Castano-Gil ("Castano")                                          ,
                                                                                 defendant Salvatore Mancuso-Gomez

     ("Mancuso")               ,
                                    Ramon            Isaza and Vincente Castano were installed                                                           as

     the leaders of the "new"                                  AUC              The              organization was structured

     as   follows:1



                ORGANIGRAMA AUTODEFENSAS UNIDAS DE COLOMBIA
                                                 -




                                                                          DIPOM
                                                         Dirección Politica y Militar
                                     Carlos Castaño      Vicente Castaño         -
                                                                                         Salvmom Mancuso -Ratnin Isara


                                                                        Estada Mayor
                                                                          Jorge Cuarenta
                                                                      Alfrecio Berrio Alemán
                                                                            Pedro Ponte
                                                                        Hernan Hernández
                                                                              Adolfo Paz
                                                                       Ramiro Vanoy Cuco
                                                                    Francisco Garcia Palsano
                                                                    Eduardo Cifuentes Agulla
                                                                      Victor Triana Botaton
                                                                            Martin Emilio
                                                                             Daniel Roa
                                                                        Francisco Tabares



                                                        Autodefensas                                          todefensas   Autodefensas   Autodatensas
                 Autodafensas        AutoM                                                     enmas    A


                     de   la             del    Sur                                      det                      de            de             de
                     Suurra            del     Cesar                                 Toisna                 Pto   Boyach   itamda Isata   Cundmamarca
                                                           y
                                                                Urabe




                                                                                     D           i




                                                                                                                                            Eduardo
                    Hemán                                 Saivarm
                    Geraldo                               Mancuso                                                            llegulver
                                       Alega     dm
                                                                                                                              Roque




            3         The           conspiracy                 in       this     case                  involved the importation of
     cocaine        into            the United States by AUC leaders Castano and Mancuso
     and AUC member,                     co-defendant                     Juan Carlos Sierra-Ramirez                                          (' Sierra-




                This orgamzational chart was obtamed from the AUC web site on the mternet
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        Ramirez")          Castano was the leader and director                             of operations for

        the drug trafficking organization The AUC established cocaine
        prices and used the AUC military forces to protect cocaine
        laboratories, maintain               cocaine           base   markets, mediate disputes
        between drug distributors,                   and       protect drug trafficking
        operations.

               4      The    Defendant       was     a    high ranking member of the
        organization and used his position in the AUC to manage the
        operations of the drug trafficking organization including
        production, distribution,                  and     transportation operations. In
        addition, Mancuso was the leader of an AUC controlled                                           area   in

        Colombia called            "Cordoba"             From    this designated region alone,
        cocaine      was    produced at       a    rate        of approximately 2,000 kilograms

        per month over         the course          of the conspiracy for                    a   total     of

        138,000 kilograms of cocaine                           This estimate          is    based upon

        information gathered from law enforcement                               and    confidential
        sources,       seizures         of cocaine        in    the region and the location,
        inspection and destruction                   of    cocaine       laboratories            in     the Cordoba
        area        The    vast malority of the cocaine                     produced in the Cordoba
        area   was     transported to the coast area(s) of Colombia and
        ultimately smuggled into                  the United States.

               5       Sierra-Ramirez          was       the organizer of large importation
        operations for            AUC    members which           involved worldwide shipment of
        cocaine      by    aircraft,       freighters and speed boats                           He    directly
        coordinated two large shipments of                            cocaine    that       were      seized by
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            law enforcement authorities.

                  6      More        specifically, the evidence in this                           case    would

            establish that            cocaine      base was sold and cocaine                      was    produced in

            laboratories controlled                 and       protected by the AUC troops under the
            direction      and       control of Castano and Mancuso                       Cocaine sold or

            distributed         by Mancuso was                transported under the security of AUC
            troops to the coast of Colombia and loaded onto ships for
            transport to the United States                        and Europe         "Go-fast" boats              --



            small vessels rigged with extra                        motors and fuel           --     were used to

            transport the cocaine                  from Colombia to trans-shipment points in

            Central America, Jamaica, Haiti,                        and the Dominican Republic                         for
            import to various               regions along the boarder of the United States
                  7.      AUC    operations             was    controlled      and   directed by Castano
            and enforcement of               AUC   rules        on Colombian citizens               was       harsh         The

            evidence in this case would show that during July of 1998,
            Castano, with approximately 200 armed                            AUC     troops, arrived at the
            town of     San     Pablo, Bolivar,                Colombia where approximately 500
            cocaine     base     buyers and sellers                assembled         A    speaker for the AUC
            announced that "counterfeit"                        cocaine     would not       be     tolerated           as

            AUC   troops took          10    individuals          from the crowd that the AUC
            suspected of         selling "counterfeit"                    cocaine     for execution              Castano

            himself addressed the crowd for                        an     hour to set the cocaine                 base

            prices,      the    quality of cocaine                base sold and the fees to be paid

            to the     AUC     for    cocaine       base       production and transportation In
            addition, Castano ordered that the production of cocaine
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    hydrochloride from the cocaine                                   base    was   to    be     in         conversion

     laboratories                 located         in    the local       AUC    area       (i e         ,
                                                                                                             the Magdelena

     block)          and the              local   AUC       commander would purchase,                           in        United
     States          dollars, all of the cocaine                            hydrochloride produced at the
     AUC    established price

            The 300 Kilogram                       Cocaine Importation into Nobile                                   ,
                                                                                                                          Alabama

           8.        In May 1998, Mobile, Alabama United States Custom Service
     ("Customs")Special Agent James Tanner ("S/A Tanner")                                                                had   a


     confidential                 source          ("CS")      that    was    approached by Juan Forte                                  in

     Miami, Florida                         Forte      was    looking for transportation for                                       a


     shipment of cocaine                          from Colombia to the United States and wanted
     to    introduce the CS to a member of the AUC, Jose Danilo Triana
     The    CS       set up           a    meeting for July 1998 in Louisiana                                   between S/A

     Tanner who                 was       working in         an   undercover role and the targets

     Forte and Triana.                       Triana flew from Colombia to the US                                               to attend

     the meeting                  At the meeting S/A Tanner gave Forte and Triana                                                      a


     tour       of     a    shrimp boat used for undercover operations and said
     that       he     would need $40,0002 in advance for the                                     transportation
     operation which was to involve the importation of                                                       300          to    500

     kilograms of                 cocaine

                9          On    October 21, 1998, S/A Tanner and the                                      CS        flew to New
     York and              met    with        a   representative of the AUC                                There they

     received              $39,500 for expenses to send the boat                                           In November 1998


                2



                    All money amounts are m Umted States dollars imless otherwise       specifically       noted
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    Customs sent           an   undercover supply vessel off the coast of
    Colombia to take             delivery of the cocaine         shipment          No    one showed

    up    to deliver        the cocaine     at sea,     and the undercover              supply

    vessel returned

              10      S/A Tanner      continued to negotiate with Triana                   who was

     in     Colombia to resolve the issues              in   the shipment          On    March 5,

     1999, S/A Tanner flew to New York and met with                       a   Colombian

    nicknamed "The Engineer"                  "The Engineer"       gave S/A Tanner $20,000

     for expenses for the next trip                On    March 27,    1999, S/A Tanner

     traveled again to New York and a Colombian woman named Luz Maria
     gave him an additional $29,000 for expenses

              11      On   April 8,    1999 the undercover         supply vessel again

     left     for the coast of Colombia to pick up the shipment of
     cocaine         Just after      departure    S/A Tanner received          a    call    from the

     AUC     targets who said         to turn    around because there were problems

     in     Colombia       There were several more weather delays between that
     date and January 4, 2000

              12.     On   January    4,   2000, Triana       traveled from Colombia to
     Mobile,        Alabama and      met   S/A Tanner        During the meeting they
     discussed the details             of the    transportation of the cocaine                   from

     the coast of Colombia to the United States                      and the codes and

     frequencies to be used Triana wanted to                      know more about the

     highway escape routes that could                 be     used after   he   received
     delivery of the shipment in the United States from the undercover
     vessel Triana flew back to Colombia to obtain delivery of the
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     cocaine              On   January 14, 2000, the undercover vessel                             left         for the

     coast of Colombia to meet with the Colombian traffickers                                                   After
     some    rough weather the undercover vessel                                was    in   place on January

     24th off the coast of Colombia                             That day, Triana met with Castano

     in    the      AUC    controlled            area    around the Sierra            Nevada mountains

     while picking up the cocaine                              On    the morning of January 25, 2000

     the Colombians delivered                          300   kilograms of        cocaine      to the
     undercover vessel                     The    offload      only took minutes but was
     preserved            on    videotape             The ob3ective      was     then to deliver                the

     cocaine         to the          targets in the United States                     and arrest      them at

     the    delivery point
             13           On    February         7,    2000, S/A Tanner met with Triana                         and

     Forte in the parking lot                          of the K-Mart in Mobile,               Alabama During

     this meeting, captured                       on    audio tape, Triana said that the deal

     had to work because the cocaine                            was    sold by Castano, the "Jefe of

     the Autodefensas",                    whom he met         to while completing              the drug deal

     On    February            8,    2000, part of the 300 kilograms of cocaine                                 was

     delivered by undercover Customs agents to a waiting tractor-
     trailer         truck          in   Mobile,       Alabama and several individuals                      were

     arrested by Customs and DEA agents including Forte                                         and Triana

                                            Cordoba's "Go-fast" Loada

               14     The       evidence would show that there were seven                                 (7)

     cocaine         loads of between 500 to 1,000 kilograms from the Cordoba
     area    that Mancuso controlled                           The    cocaine     was       shipped under the
     protection of AUC soldiers                          to the coast of Colombia and loaded                            on
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     "go-fast" boats for transport to Central America, Jamaica, Haiti,
    and the Dominican           Republic before shipment to various        boarder

    regions of the United States               These shipments were   as    follows

     •       March 19,    1999Defendant and Castano sold 1,000 kilograms
             of cocaine for transport to the United States.    The cocaine
             was transported to a beach in northern  colombia  by AUC
             soldiers in trucks with hidden compartments     The Defendant
             himself carefully counted the number of kilograms,
             explaining that the "go-fast" vessels were to meet a
             merchant ship that could only store 1,000 kilograms in
             hidden compartments    The transporter was told he would only
             be paid for transportation costs and was not to transport
             any additional cocaine with this shipment

     •       August 4, 1999 500 kilograms of cocaine were received from
             the Defendant and Castano and were transported in the same
             manner to the United States as the previous 1,000 kilograms
             in   March

     •       November 23,       1999   500   kilograms of  were sold in the
                                                            cocaine
             same fashion but while in transit to  Jamaica  the crew threw
             the cocaine overboard when they came in  close  contact with a
             United States Coast Guard vessel   The crew and ship were
             able to evade capture but the 500 kilograms of cocaine were
             lost The United States Coast Guard recovered 350 kilograms
             of cocaine from the sea

         •   January 16, 2000 500 kilograms of cocaine were sold by the
             Defendant and successfully transported by "go-fast" vessel
             to Haiti in route to the United States

         •   March 4, 2000   500 kilograms of cocaine were sold by the
             Defendant and successfully transported by "go-fast" vessel
             to Haiti in route to the United States

         •   June 20, 2000: 600 kilograms of cocaine were received from
             the Defendant and successfully transported to the Dominican
             Republic in route to the United States

         •   September 12, 2000 814 kilograms of cocaine were sold by
             the Defendant and successfully transported by a "go-fast"
             vessel from Colombia to Jamaica to the Bahamas While being
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            smuggled into the United States from the Bahamas, however,
            this load of cocaine was stolen    The Defendant personally
            contacted the two transporters and insistent  upon a payment
            of one million United States dollars for the loss

                                Admissions of         Guilt/Criminal Acts

            15       On   live Colombian television Castano was interviewed by
     reporter Dario Arizmendi                   and the      following is      an   excerpt from
     that interview

          Arizmendi           What   the   guerrilla calls         the gram taxo

        Castano· Yes, so 1,000 kilograms of leaves are taken    They
     have to pay. I don't know the amounts That is managed by the
     Northern front   There isn't a cocaine laboratory, we aren't
     cocaine exporters. I mean, we're not drug traffickers     But, to
     try and ignore that the Colombian conflict and the drug traffic
     feed each other would be a fallacy

          Arizmendi What percentage of the financing of the self-
     dá    nse forces can -come from ranchers and farmers that are
           cáted to drug traf f icking?

          Castano    I'm saying          I'm not saying that farmers and
                                                  .




           hg:es  perpetuate drug trafficking        To me the drug trafficker
            e and the f armer   and the rancher is another         About the drug
            icking,    the drug trafficking    should  finance  70  percent, like
          the  guerrilla   some 90,  more   or less,  between  abduction  and
          g traffic.

            16       In   a    television        interview      by RCN News on August 9,

                Castano was interviewed and noted

            VInterviewer. Would you be able to tell the country how
        hm ney, in concept, the AUC takes in through the chain of
     drüg trafficking?

         Castano: It's very difficult to manage but I will mention the
     figures Agabarra and San Lucas were 600 million worth of taxes
     charged to the coca growers The finances that cover these twa
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    fronts there have to cover the entire                          Northern Block of the AUC.
    This doesn't make me a drug trafficker                               By no means                I set an
    interesting example for the country

          17         The Defendant was              interviewed on a program called                       La

    Noche airing          on   RCN    Television         News    Colombia on August 4, 2003

    During that program, the Defendant responded to                                  a    question
    concerning         "taxation"          of coca by noting that              "we       collect      taxes

    from different             regions of Colombia " During 2004,                         on    a   Public

    Broadcasting Service special called                          "Wide    Angel," the Defendant
    admitted that the AUC receives                        70%   of its    money from            taxing drug
    traffickers

           18         In December 2002, the Defendant began his                                participation
    in   what was to           be   the Justice          and Peace3 process,              a    program

    designed to have AUC members                        voluntarily surrender their                   arms     and

    truthfully disclose their criminal activity                                 During this

    process,        the Defendant has admitted to involvement in the murders
    of   "military targets," mayors, drug traffickers                                and peasants

     Included in this admission                    is    the February 2000           AUC       massacre       of

     forty-two (42) people in the El Salado neighborhood of the Las
     Ove3as     Bolivar region of Colombia                       Evidence discovered                 by the

     Colombian government suggests that                         the Defendant's estimate                  may

     have been mistaken                    The   actual number of individuals                       actually
     killed     and    tortured by AUC members                  may be    as   many as one hundred

     (100) civilians



               Law 975-05 Justicia y Paz
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-               19.      In addition              to this      admission,     the evidence will             show

        AUC    paramilitary troops committed 15 massacres                               killing    a    total      of

        145    individuals              during May 29 through September 1,                     1999 in the

        area    of Vetas, Norte               de       Santander and in and around La Gabarra

        and Tibu.            In addition,              AUC   paramilitary troops committed a
        massacre        of     27   people in Chengue, Sucre region                     on    January 17,

        2001.      As    Castano admitted on                   RCN   News   show   La   Noche on August            9,


        2000,    in response to               a     question regarding the AUC being listed                        as


        a   terrorist          organization by the United States, "there have been
        excesses" and asked forgiveness for the "deplorable events that
        have occurred that anyone in his                             right mind would never            be   able

        to remotely order".

        Wayne    Raabe
        Acting Chief
        Narcotics and Dangerous Drug Section
        Criminal Division
        United States Department of Justice




        By:                   rt    .    Sp   lke                                        Da    e

                      Trial  Attorn
                      Narcotics and Dangerous Drug Section
                      U.S. Department of Justice
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                                 DEFENDANT   '


                                                 S   ACCEPTANCE




          I have read the forgoing eleven (11) pages of the Statement of
    Facts       have discussed it with my attorney, Joaquin Perez,
               and
    Esquire.    I  fully understand this document and agree without
    reservation that the facts are accurate and correct.         I do this
    voluntarily and of my own free will, intending to  be  legally  bound.
    No threats   have been  made to me  nor am I under  the  influence   of
    anything that could impede my ability to understand this factual
    proffer fully.

          I             that
                 reaffirm        absolutely no promises,     agreements,
    understandings,      conditions
                            or        have been made or entered into in
    connection with my decision to plead guilty except those set forth
    in the signed plea agreement.        I am  satisfied with the legal
    services provided by my attorney in connection with this plea
    agreement and matters related to it.




                                                      Salvatore'Mancuso-Gomez
                                                      Defendant




                                                       Joaqui     P     ez,-EÑquire
                                                      Attor ey        for Salvatore
                                                         Mancuso-Gomez
